                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:
                                                       Case No. 21-44887
SILVERSIDE SENIOR LIVING,                              Chapter 11
LLC, et al., 1                                         Hon. Lisa S. Gretchko

         Debtors.
                                                       Jointly Administered


     SECOND ORDER TO ADJOURN CONFIRMATION HEARING AND
    TO EXTEND DEADLINE TO FILE OBJECTIONS TO CONFIRMATION

         The Debtors, the Subchapter V Trustee, the United States Trustee, Chippewa

Valley, LLC, the Internal Revenue Service and the State of Michigan

Unemployment Agency (collectively, “Parties”) have stipulated to adjourn the

hearing on the Confirmation from November 19, 2021 to December 17, 2021 and to

extend the deadline for Chippewa Valley, LLC, Gordon Food Service Inc. and the

United States Trustee to file objections to confirmation from November 17, 2021 to

December 14, 2021. The Parties have filed a stipulation seeking the entry of this

Order. The Court has reviewed said stipulation and finds that cause exists to grant




1The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case No.
21-44888-lsg].



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the adjournment, however the Court requires insertion of a time on December 14,

2021 by which the objections must be filed. The Court is advised in the premises.


      IT IS HEREBY ORDERED that the Hearing on Confirmation of the

Debtors’ Liquidating Plan (filed at ECF No. 91) is adjourned from November 19,

2021 to December 17, 2021 at 1:00 p.m.


      IT IS FURTHER ORDERED that the deadline for Chippewa Valley, LLC,

Gordon Food Service Inc. and the United States Trustee to file objections to

confirmation is extended from November 17, 2021 to 10:00 a.m. prevailing time on

December 14, 2021.




Signed on November 19, 2021




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